

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-63,440-12






EX PARTE CLEVELAND WADE THOMPSON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 114-1126-02 IN THE 114TH DISTRICT COURT


FROM SMITH COUNTY






	Per curiam.



O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault on a public servant and sentenced to forty years' imprisonment.

	In his present application, Applicant raises three grounds for challenging his conviction.  This
application, however, presents a more serious question.  This Court's records reflect that Applicant
has filed eight prior Article 11.07 applications challenging this conviction.  It is obvious from the
record that Applicant continues to raise issues that have been presented and rejected in previous
applications or that should have been presented in previous applications.  The writ of habeas corpus
is not to be lightly or easily abused.  Sanders v. U.S., 373 U.S. 1 (1963); Ex parte Carr, 511 S.W.2d
523 (Tex. Crim. App. 1974).  Because of his repetitive claims, we hold that Applicant's claims are
barred from review under Article 11.07, § 4, and are waived and abandoned by his abuse of the writ. 
This application is dismissed.

	Therefore, we instruct the Honorable Louise Pearson, Clerk of the Court of Criminal
Appeals, not to accept or file the instant application for a writ of habeas corpus, or any future
application attacking this conviction unless Applicant is able to show in such an application that any
claims presented have not been raised previously and that they could not have been presented in a
previous application for a writ of habeas corpus.  Ex parte Bilton, 602 S.W.2d 534 (Tex. Crim. App.
1980).

	A copy of this order shall be sent to the Texas Department of Criminal Justice, Correctional
Institutions Division.



Filed: February 29, 2012

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